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Attorney for Plaintiff/Counterclaim Defendant
City of Fort Collins




                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

CITY OF FORT COLLINS,

             Plaintiff/Counterclaim Defendant,      Civ. No. 3:25-mc-155
       v.
                                                    WRIT OF GARNISHMENT
OPEN INTERNATIONAL, LLC,

             Defendant/Counterclaim Plaintiff,

OPEN INVESTMENTS, LLC,

             Defendant.



TO: TUALATIN VALLEY WATER DISTRICT

       You are now a Garnishee. AS A GARNISHEE, YOU NEED TO KNOW THE

FOLLOWING:

       Open International, LLC (“Debtor”) owes money to the City of Fort Collins (“Creditor”).

A judgment was entered against the debtor for the debt, or the debt otherwise became subject to

garnishment, on March 28, 2024. The Debtor’s employer identification number is XX-XXXXXXX.



 WRIT OF GARNISHMENT - 1 -
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       The amount subject to garnishment is $20,912,327.36. This writ garnishes all of the

following:

             x   All property of the Debtor (including money) that is in your possession, control or
                 custody at the time this writ is delivered to you.

             x   All debts that you owe the Debtor at the time this writ is delivered to you, whether
                 or not payment is due on the debt at the time you receive this writ.

       YOU MUST ANSWER THIS WRIT BY COMPLETING THE ATTACHED

GARNISHEE RESPONSE WITHIN THE TIME ALLOWED BY LAW, WHETHER OR NOT

YOU HOLD ANY OF THE DEBTOR’S PROPERTY OR OWE ANYTHING TO THE

DEBTOR. IF YOU DO NOT TRUTHFULLY ANSWER THIS WRIT, OR YOU DO NOT

DELIVER MONEY OR PROPERTY WHEN YOU ARE REQUIRED TO DO SO, YOU WILL

BE LIABLE TO THE CREDITOR.

       If you have questions, you should contact an attorney. Court employees cannot give you

legal advice. The Creditor’s attorney cannot give you legal advice.

       A writ of garnishment may be issued only by the court administrator, by the attorney for

the Creditor or by a person who is specifically authorized by law to issue garnishments. This writ

is issued by:



       Melissa Aubin, Clerk of the Court
       United States District Court of Oregon
       Mark O. Hatfield U.S. Courthouse
       1000 S.W. Third Ave.
       Portland, OR 97204

       This writ is valid only if it has been delivered to you within 60 days after the date of

issuance. If the court administrator is issuing this writ, the date of issuance is the date the court



 WRIT OF GARNISHMENT - 2 -
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administrator signs the writ.

DEBTOR:
Open International, LLC
c/o Hernando Parrott, Registered Agent
6060 SW 79 Street
South Miami, FL 33143

CREDITOR:                                   ATTORNEYS FOR CREDITOR:
City of Fort Collins                        Benjamin D. Greenberg
c/o Dorsey & Whitney, LLP                   Columbia Center
1400 Wewatta Street, Suite 400              701 Fifth Avenue, Suite 6100
Denver, CO 80202                            Seattle, WA 98104-7043

                                            Case Collard
                                            Dorsey & Whitney, LLP
                                            1400 Wewatta Street, Suite 400
                                            Denver, CO 80202




 WRIT OF GARNISHMENT - 3 -
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                                        CERTIFICATION

       I certify that I have read this writ of garnishment and to the best of my knowledge,

information and belief, there is good ground to support issuance of the writ, and the amount

indicated as subject to garnishment is lawfully subject to collection by this writ.

       DATED this 20th of February, 2025.

                                                      /s/ Benjamin D. Greenberg
                                                      Benjamin D. Greenberg, OSB # 182745
                                                      DORSEY & WHITNEY, LLP

                                                      Attorney for Plaintiff/Counterclaim
                                                      Defendant City of Fort Collins



                                          COURT SEAL

       Issued by the court administrator on March 7, 2025                             .



                                                              MELISSA
                                                              M   SSA AUBIN,
                                                                      AUBI
                                                                        BIIN, CLERK
                                                                        B     CL    OF COURT


                                                              By:
                                                              B
                                                                    Deputy Clerk




 WRIT OF GARNISHMENT - 4 -
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